     Case: 1:19-cv-02162 Document #: 9 Filed: 04/22/19 Page 1 of 1 PageID #:21

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

George Moore
                               Plaintiff,
v.                                                 Case No.: 1:19−cv−02162
                                                   Honorable Virginia M. Kendall
Dial4MD, Inc., et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 22, 2019:


        MINUTE entry before the Honorable Virginia M. Kendall. Case is dismissed
without prejudice to become with prejudice on 8/16/2019 pursuant to Notice of Settlment
[19]. Civil case terminated. Mailed notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
